                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OFPENNSYLVANIA

IN RE:         Maureen                           :                 Chapter 13
               Elizabeth Calder                  :                 No.            18-16521 AMC
                                                 :


                     OBJECTION TO CERTIFICATION OF DEFAULT

         The Law Offices of Anthony A Frigo, attorneys for Debtors, hereby object to Movant’s
Certification of Default filed with the Court on November 23, 2022, based upon the following:


         1.     This case was filed under Chapter 13 on September 30, 2018.
         2.     During the pendency of the case Debtor fell behind on Post Petition Mortgage
                payments to Creditor M&T Bank.
         3.     M&T Bank filed a Motion for Relief from the Stay on June26, 2019.
         4.     By Order entered on August 28, 2019 the motion was settled. A true and correct
                copy of the Order is attached hereto, made a part hereof and marked Exhibit “A.”
         5.     On July 21, 2023 M&T Bank sent its NOTICE OF DEFAULT UNDER COURT
                APPROVED STIPULATION averring a deficiency in payments for June and July
                2023. A true and correct copy of the Notice is attached hereto, made a part hereof
                and marked Exhibit “B.”
         6.     Debtor has made all required payments under the stipulation.


         WHEREFORE, the Debtors request that this Court deny Movant’s Certification of
Default.


Dated: August 14, 2023                               /S/ Anthony A. Frigo
                                                     Anthony A. Frigo, Esquire
                                                     175 Strafford Ave., Suite One
                                                     Wayne, PA 19087
                                                     (610) 272-8644
